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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

   DEANDRE HARRIS,
                                                               CASE NO. 3:19-cv-00046
                                      Plaintiff,

                              v.                               ORDER

   JASON KESSLER, et al.,
                                                               JUDGE NORMAN K. MOON
                                     Defendants.


        On November 30, 2020, this Court entered a memorandum opinion and order granting the

 motion to dismiss filed by Defendants League of the South, Michael Hill and Michael Tubbs

 (“Movant-Defendants”). Dkt. 94. In that decision, the Court explained that “[t]he scant allegations

 in the complaint concerning Movant-Defendants stand in stark contract to those that have been

 found sufficient” in another case arising out of the Unite the Right rallies, Sines v. Kessler. Dkt. 94

 at 5 (citing Sines v. Kessler, 324 F. Supp. 3d 765, 776–79, 792–93 (W.D. Va. 2018)). While the

 Court granted Movant-Defendants’ motion to dismiss, the Court further ruled that “such dismissal

 shall be without prejudice,” and stated that “Plaintiff shall have leave to amend his complaint

 within twenty-one (21) days.” Id. at 6 (emphasis in original).

        Twenty-one days have passed. Plaintiff’s counsel has not filed an amended complaint, as

 this Court had allowed. Nor has Plaintiff’s counsel filed anything in the interim that would explain

 the failure to amend. Accordingly, the Court will dismiss with prejudice Plaintiff’s claims against

 Movant-Defendants League of the South, Michael Hill and Michael Tubbs, and further DIRECTS

 the Clerk of Court to terminate those parties as defendants in this action.

        It is so ORDERED.
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       The Clerk of Court is directed to send this Order to the parties.

       Entered this 28th     day of December, 2020.
